                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION



 SUSAN ROWE, CHRISTINE M. KLEIBER,
 TAMMY D. BURDEN, JULIE A.
 SCHROPP, and STACEY L. GOOD,
             Plaintiffs,                                         No. 4:19-cv-00256-JAJ
 vs.
 KIMBERLY KAY REYNOLDS, in her
 official capacity as Governor State of Iowa,
                                                                        ORDER
 JAMES M. KURTENBACH, in his official
 capacity with Iowa Department of
 Administrative Services, and the STATE OF
 IOWA,
                  Defendants.


   This matter comes before the Court pursuant to Plaintiffs’ Motion for Conditional Certification
and Court-Authorized Notice filed on September 4, 2020, asking the Court for conditional
certification of a collective action on their behalf and a group of similarly situated individuals
pursuant to 29 U.S.C. § 216(b). [Dkt. No. 31] On October 5, 2020, Defendants filed a resistance
to Plaintiffs’ Motion for Conditional Certification and Court-Authorized Notice. [Dkt. No. 37]
Plaintiffs replied on November 4, 2020. [Dkt. No. 47] For the reasons that follow, Plaintiffs’
Motion for Conditional Certification and Court-Authorized Notice is GRANTED.
   Plaintiffs also filed a Motion to Delay Rule 23 Class Certification Under the Iowa Wage
Payment Collection Act. [Dkt. No. 30] Defendants filed a resistance to this motion on October 5,
2020. [Dkt. No. 38] Plaintiffs replied on November 4, 2020. [Dkt. No. 48] For the reasons that
follow, Plaintiffs’ Motion to Delay Rule 23 Class Certification Under the Iowa Wage Payment
Collection Act is DENIED.
                                              I.       Background
   Plaintiffs Susan Rowe, Christine, Kleiber, Tammy Burden, Julie Schropp, and Stacey Good
are registered nurses (“RNs”) employed by the State of Iowa, providing care and assistance to
patients or residents at state facilities. Plaintiffs work at either the Woodward Resource Center, the
Iowa Medical and Classification Center, or the Iowa State Penitentiary. Plaintiffs are classified as


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“02020” and “82020” employees. Plaintiffs seek conditional class certification of the following
class: All current and former Registered Nurses of the State of Iowa in Job Classifications 02020
and 82020, at any time during the period July 1, 2017 to present.

               II.      Motion for Conditional Certification and Court-Authorized Notice
   Plaintiffs seek conditional certification of their Fair Labor Standards Act (“FLSA”) claim as a
collective action pursuant to 29 U.S.C. § 216(b). [Dkt. Nos. 31, 34]. Plaintiffs request that the
Court authorize the proposed notice to all potential collective action members. Plaintiffs also seek
an order requiring defendants to update identification information on all registered nurses
employed in Job Classifications 02020 and 82020 at any time between July 1, 2017 and the present,
including the last known addresses, email addresses, phone numbers, and other contact information
of all putative class members. Plaintiffs further request Defendants be ordered to provide the dates
of employment for members of the putative class and the location and number of institutions where
they have been assigned to work to avoid duplicate notices to putative class members.
Additionally, Plaintiffs seek an order requiring Defendants to provide this information within 14
days, direct issuance of Plaintiffs’ proposed notice and consent form to all persons meeting the
proposed class criteria, and an order tolling the statute of limitations for persons receiving the opt-
in notice for 90 days. [Dkt. No. 34 at 21–22]
   Defendants resist, arguing that Plaintiffs have failed to establish that they are similarly situated
and that other similarly situated individuals desire to opt in to the class. If the Court certifies the
class, Defendants also argue that the Court should: 1) revise the proposed class time period; 2)
order Plaintiffs to amend their proposed notice; 3) and deny Plaintiffs request for the email
addresses, telephone numbers, and location and number of institutions of the members of the
putative class. For the reasons stated below, the Court holds that the Motion for Conditional Class
Certification and Court-Authorized Notice is GRANTED. Further, the Court adopts Plaintiffs’
proposed class definition and proposed notification subject to the amendments referenced below.
                     A. Conditional Certification and Notice: Legal Standard
   Section 7 of the FLSA requires that an employer compensate non-exempt employees at least
one- and one-half times their individual hourly wage when they are subjected to a workweek in
excess of 40 hours. 29 U.S.C. § 207. Employers who violate this restriction are liable to affected
employees for the amount of their unpaid overtime compensation and “an additional equal amount



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as liquidated damages.” Id. § 216(b). “Similarly situated” employees may proceed collectively to
recover damages for violations of the FLSA’s overtime and record-keeping provisions:
               An action to recover the liability prescribed in either of the
               preceding sentences may be maintained against any employer
               (including a public agency) in any Federal or State court of
               competent jurisdiction by one or more employees for and in behalf
               of himself or themselves and other employees similarly situated. No
               employee shall be a party plaintiff to any such action unless he gives
               his consent in writing to become such a party and such consent is
               filed in the court in which such action is brought.

Id. The FLSA does not expressly define “similarly situated,” and the Eighth Circuit has not yet
addressed the issue. See Putman v. Galaxy 1 Marketing, Inc., 276 F.R.D. 264, 268–69 (S.D. Iowa
2011). This Court, and others within the Eighth Circuit, have applied the “two-step” approach. Id.
at 269 (citing Dietrich v. Liberty Square, L.L.C., 230 F.R.D. 574, 576–77 (N.D. Iowa 2005);
Littlefield v. Dealer Warranty Servs., L.L.C., 679 F. Supp. 2d 1014, 1016 (E.D. Mo. 2010) (citing
to federal courts that have followed and adopted the two-step approach); In re Pilgrim’s Pride,
No. 1:07–cv–1832, 2008 WL 4877239, at *2 (W.D. Ark. Mar. 13, 2008) (same); Davis v. NovaStar
Mortg, Inc., 408 F. Supp. 2d 811, 815 (W.D. Mo. 2005) (same); Parker v. Rowland Express, Inc.,
492 F. Supp. 2d 1159, 1163–64 (D. Minn. 2007) (same)).
   In Robinson v. Tyson Foods, Inc., this Court explained the two-step standard for determining
whether plaintiffs are similarly situated for purposes of § 216(b). 254 F.R.D. 97 (S.D. Iowa 2008).
In Robinson, the Court quoted from the § 216(b) analysis presented in Dietrich v. Liberty Square,
L.L.C.:
               “A two-tiered analysis distinguishes between conditional class
               certification, generally made at the ‘notice stage,’ and a final class
               certification determination made after discovery is largely
               completed.” Campbell v. Amana Company, L.P., 2001 WL
               34152094, at *2 (N.D. Iowa 2001) (citing Thiessen v. General
               Electric Capital Corp., 996 F.Supp. 1071, 1080 (D.Kan. 1998)).
               Because the initial stage of conditional certification is “based on
               little or no discovery, the ‘burden on plaintiffs is not a stringent
               one.’” Id. (quoting Hoffmann v. Sbarro, Inc., 982 F.Supp. 249, 261
               (S.D.N.Y. 1997)). Accordingly, “conditional certification of a
               representative class is generally granted.” Id. (citing Thiessen, 996
               F.Supp. at 1080). To establish that conditional certification is
               appropriate, the plaintiffs “need merely provide ‘some factual basis
               from which the court can determine if similarly situated potential
               plaintiffs exist.’” Id. (quoting Jackson v. New York Tel. Co., 163

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               F.R.D. 429, 431 (S.D.N.Y. 1995)). “Courts have held that plaintiffs
               can meet this burden by making a modest factual showing sufficient
               to demonstrate that they and potential plaintiffs were victims of a
               common policy or plan that violated the law.” Id. ((citing Hoffmann,
               982 F.Supp. at 261); accord Jackson, 163 F.R.D. at 432). “The more
               stringent factual inquiry as to whether the plaintiffs are ‘similarly
               situated’ is made only after a more substantial record has been
               amassed.” Id.

Dietrich, 230 F.R.D. at 576–77 (alterations added).
   In Bouaphakeo v. Tyson Foods, Inc., the court further explained that although the burden at
the first step is more lenient and does not require existing plaintiffs to show other members of the
potential class are actually similarly situated, “‘plaintiffs must present more than mere allegations;
i.e., some evidence to support the allegations is required.’” 564 F. Supp. 2d 870, 893 (2008)
(quoting Young v. Cerner Corp., 503 F. Supp. 2d 1226, 1229 (W.D. Mo. 2007)). The court
continued:
               The supporting evidence should include “evidence that other
               similarly situated individuals desire to opt in to the litigation”
               because “‘[o]thers’ interest in joining the litigation is relevant to
               whether or not to put a defendant employer to the expense and effort
               of notice to a conditionally certified class of claimants.” Parker v.
               Rowland Express, Inc., 492 F.Supp.2d 1159, 1164–65 (D. Minn.
               2007) (quoting Simmons v. T–Mobile USA, Inc., No. H–06–1820,
               2007 WL 210008, at *9 (S.D. Tex. Jan. 24, 2007)). In addition to
               “whether potential plaintiffs have been identified,” district courts
               outside of the Eighth Circuit have evaluated several other factors at
               this stage to determine the propriety of conditional certification,
               including “whether affidavits of potential plaintiffs have been
               submitted, whether there is evidence of a widespread discriminatory
               plan, and whether, as a matter of sound management, a manageable
               class action exists.” Jimenez v. Lakeside Pic–N–Pac, L.L.C., 2007
               WL 4454295, at *2 (W.D. Mich. Dec. 14, 2007) (citing Olivo v.
               GMAC Mortg. Corp., 374 F.Supp.2d 545, 548 (E.D. Mich. 2004)).
               In sum, “[c]onditional certification in the first step ‘requires nothing
               more than substantial allegations that the putative class members
               were together the victims of a single decision, policy or plan.’”
               Young, 503 F.Supp.2d at 1229 (quoting Davis v. NovaStar Mortg.,
               Inc., 408 F.Supp.2d 811, 815 (W.D.Mo. 2005)).

Id. at 894. The two-step approach thus allows plaintiffs to move for conditional certification early
in the litigation, but also allows defendants to move for decertification at the close of discovery.
Davis, 408 F. Supp. 2d at 815. Regarding the second step, the court explained, “The stricter post-

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discovery standard requires plaintiffs to convince the court that the factual record reveals putative
plaintiffs are still similarly situated to existing plaintiffs.” Bouaphakeo, 564 F. Supp. 2d at 893
(internal citations and quotation marks omitted).
   Class members must be similarly situated because without such commonality, the litigation is
unlikely to answer the question posed by the plaintiffs. Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
338, 350–52 (2011) (“Here respondents wish to sue about literally millions of employment
decisions at once. Without some glue holding the alleged reasons for all those decisions together,
it will be impossible to say that examination of all the class members’ claims for relief will produce
a common answer to the crucial question . . . .”).
            B. Conditional Certification and Notice: Analysis and Conclusions
   This case is at the first step of the FLSA class certification process. Plaintiffs have satisfied
their burden of making a modest factual showing that they and other similarly situated individuals
were arguably harmed by a common plan that violated the law. Plaintiffs have presented evidence
in the form of their sworn written interrogatories, their sworn depositions, and the sworn
depositions of Iowa administrative employees regarding Iowa’s exempt-employee policy. These
documents demonstrate that Plaintiffs believe they, and other members of the proposed class, were
treated the same with regard to Defendants’ overtime-payment policy. In their interrogatories,
Plaintiffs describe a pay structure that appears to have been uniformly applied to all RNs in Job
Classifications 82020 and 02020. Pls.’ App. in Supp. of Pls.’ Mot. to Conditionally Certify
Collective Class Under FLSA (Pls.’ App.) 26–27, 42–43, 59–60, 76–77, 93–94. Plaintiffs’
depositions describe a similar pay structure. Pls.’ App. 125–27, 136–38, 143–46, 153–57, 161–65.
The depositions of Iowa administrative employees, Janet Phipps and Jeffrey Ainger, indicate RNs
in Job Classifications 82020 and 02020 are uniformly treated as exempt employees for FLSA
purposes. Pls.’ App. 104–05, 111–12, 111–18.
   Plaintiffs indicate there are four groups of similarly situated persons comprising the putative
class—current RNs classified as 82020 employees, former RNs classified as 82020 employees,
current RNs classified as 02020 employees, and former RNs classified as 02020 employees. While
Plaintiffs do not explicitly name other individuals who wish to join this lawsuit, it is clear these
individuals exist. The State of Iowa has been employing RNs for the period described in the class.
Plaintiffs describe a pay structure all RNs employed in the 82020 and 02020 positions worked
under during the class period. Therefore, potential class members exist. The bar for conditional


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class certification is low. Plaintiffs satisfy the standard through their interrogatories and
depositions alleging a widespread discriminatory plan and four groups of putative class members.
See Young v. Cerner Corp., 503 F. Supp. 2d 1226, 1229 (W.D. Mo. 2007) (citing Grayson v. K
Mart Corp., 79 F.3d 1086, 1096 (11th Cir. 1996); Freeman v. Wal-Mart Stores, Inc., 256
F.Supp.2d 941, 944 (W.D. Ark. 2003). The Court holds that the proposed FLSA class is
conditionally certified.
    Notice to the class must be “timely, accurate, and informative.” Hoffmann-LaRoche Inc. v.
Sperling, 493 U.S. 165, 172 (1989). If a class is conditionally certified, “the Court has discretion
to facilitate the opt-in process and authorize court-supervised notice to potential opt-in plaintiffs.
Frazier v. PJ Iowa, L.C., 337 F. Supp. 3d 848, 861–62 (S.D. Iowa 2018) (citing Sperling, 493 U.S.
at 169). Likewise, the Court has discretion regarding the details of the notice and will consider
reasonable revisions. Myers et al. v. Iowa Board of Regents, 458 F. Supp. 3d 1075, 1088 (S.D.
Iowa 2020).
    Defendants raise several objections to Plaintiffs’ proposed notice. The Court approves some,
but not all, of Defendants’ proposed changes. Defendants’ amendments to the introductory
paragraph are adopted in part. First, Plaintiffs shall amend the introductory paragraph to include
say, “If you are or were a Registered Nurse employed by The State of Iowa in Job Classifications
02020 or 82020 at any time between July 6, 2017 and the present, please read this notice. A
collective action lawsuit may affect your rights.” Second, Plaintiffs shall add the following
paragraph, in bold font, after the line referencing that the notice is not a solicitation letter:
          This notice is for the sole purpose of determining the identity of those
          persons who wish to be involved in this case. Although the United States
          District Court for the Southern District of Iowa has authorized sending
          this notice, the court has not considered or made any decisions as to the
          merits of Plaintiffs’ claims or Defendants’ defenses and expresses no
          opinion on the merits of the lawsuit.
    The Court also adopts all of Defendants’ proposed changes to the second bullet point on page
one of the notice because it more accurately reflects Defendants’ position in this case. On page
one of the notice in bullet point three, the date shall be changed to July 6, 2017. On page two of
the notice, in section one entitled “Why did I get this notice?,” the Court approves the addition of
Defendants’ proposed language at the end of the first sentence. The Court adopts all of Defendants’
suggestions to section five entitled “What is Defendant’s position?” because it is a more accurate
description of the proposed class and Defendants’ position.


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    The Court adopts all of Defendant’s proposed changes to section eight entitled “Can I join this
lawsuit?” Finally, the Court adopts all of Defendants’ proposed amendments to section eleven
entitled “How do I ask to be included in the case?” Beyond those corrections, the Court holds that
Plaintiffs’ proposed notice is appropriate.
    Defendants also object to Plaintiffs request for the email addresses, telephone numbers, and
other contact information of putative class members. Defendants argue Plaintiffs request for the
location and number of institutions where members of the putative class have been assigned or
worked is unnecessary to facilitate notice to the putative class. Plaintiffs have failed to explain
why notice by first-class mail is insufficient in this case. See id. at 1089. Notice shall be made by
first-class mail. See id. If there have been any changes to the last list of names and addresses that
Defendants provided to Plaintiffs, the Court orders Defendants to produce an updated list of
potential class members with names and addresses but denies Plaintiffs request for a list of the
email addresses, telephone numbers, and other contact information for members of the putative
class. The Court also denies Plaintiffs request for the location and number of institutions where
members of the putative class have worked because it is unnecessary to ensure notice to the
putative class.
 C. Statute of Limitations and Notice Timing: Legal Standard, Analysis, and Conclusions
    FLSA violations are subject to a three-year statute of limitations if the violation is willful, or a
two-year statute of limitations if the violation is not willful. 29 U.S.C. § 255(a). The claim of a
named plaintiff in a class action is considered filed on the date the complaint is filed and the
plaintiff files a written consent to join the class action. 29 U.S.C. § 256(a). If a party’s name does
not appear on the complaint, the action commences on the day the party files written consent to
join the action. Id. § 256(b).
    The parties appear to have adopted the three-year period. See Dkt. No. 34 (using three-year
statute of limitations); Dkt. No. 37-1 (not objecting to three-year class period apart from the
beginning class date). Plaintiffs have also alleged class action status under the Iowa Wage Payment
Collection Act (“IWPCA”). Plaintiffs contend these allegations toll the statute of limitations under
the Act and request the Court to equitably toll the statute of limitations with regard to the FLSA
claims. Plaintiffs allege the class period should commence on July 1, 2017. Defendants recognize
it would be appropriate to toll the statute of limitations; however, they argue the Court should toll
the statute of limitations from the original deadline for Plaintiffs’ Motion for Class and/or


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Collective Certification, July 6, 2020. Meaning, the class period would begin on July 6, 2017,
rather than July 1, 2017 as proposed by Plaintiffs.
   Beginning the class period on July 1, 2017 goes beyond the three-year statute of limitations.
See 29 U.S.C. § 255(a). The Court will equitably toll the statute of limitations three years back
from the deadline for Plaintiffs’ original Motion for Class and/or Collective Certification, July 6,
2020, and restrict the time period for the class based on this date. See Myers, 458 F. Supp. 3d at
1086. Therefore, the time period for the class shall be July 6, 2017 to the present.
   Additionally, Plaintiffs request the Court set an opt-in period of 90 days beginning after court-
authorized notice is mailed. Defendants do not object to adopting a 90-day period; however,
Defendants propose the 90-day period be 90 days from the date the Consent to Join form is filed
with the Court, rather than postmarked as proposed by Plaintiffs. The Court adopts a 90-day opt-
in period, with all Consent Forms to be filed with the Court within 90 days from the mailing of the
notice.
                            III.    Motion to Delay: Analysis and Conclusions
   Plaintiffs seek to delay a Rule 23 class certification of their IWPCA claims. [Dkt. No. 30] They
argue a delay in certification will result in judicial economy and savings of time. [Dkt. No. 30 at
3] Defendants resist, arguing Plaintiffs motion is in conflict with Federal Rules of Civil Procedure
16 and 23 and Local Rules 16 and 23. [Dkt. No. 38 at 2] Defendants also contend Plaintiffs’ motion
should be denied based on conflict preemption. [Dkt. No. 38 at 4] For the reasons stated below,
the Court holds that Plaintiffs’ Motion to Delay is DENIED.

                                           A. Legal Standard
   Federal Rule of Civil Procedure 23 provides that a court must determine whether to certify a
class at an early, practicable time after a party has filed a class action suit. Fed. R. Civ. P.
23(c)(1)(A). This Court’s Local Rule 23(a) provides that a party seeking to maintain a class or
representative action must file a motion for class certification within 180 days after
commencement of the action. Iowa S.D. R. 23(a). Federal Rule of Civil Procedure 16 requires a
court to issue a scheduling order in most cases, and that the scheduling order can only be modified
for good cause. Fed. R. Civ. P. 16(b)(1), (4).
                                      B. Analysis and Conclusions
   Here, the Court’s scheduling order required Plaintiffs to submit their motion for class
certification by July 6, 2020. [Dkt. No. 13] By agreement of the parties, this deadline was extended

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to September 4, 2020. [Dkt. No. 29] On September 4, 2020, Plaintiffs filed a motion to delay class
certification under Rule 23 for their IWPCA claims and a motion to conditionally certify the class
under the FLSA. The Plaintiffs have failed to establish good cause to delay class certification under
the IWPCA.
                                                IV.       Conclusion

   Plaintiffs, individually and on behalf of the others similarly situated, have met the FLSA
requirements to certify the proposed collective action and provide notice.
   Upon the foregoing,
   IT IS ORDERED that Plaintiffs’ Motion to Conditionally Certify Collective Class Under
FLSA is granted subject to the conditions noted above.
   IT IS FURTHER ORDERED that Defendants shall produce an updated list of names and
addresses for all current and former employees of the State of Iowa who meet the definition of the
conditionally certified class. Defendants shall do so within 14 days of the issuance of this order.
   IT IS FURTHER ORDERED that notice be issued to all current and former State of Iowa
employees who meet the definition of the class defined above by first class mail.
   IT IS FURTHER ORDERED that notices be issued to all potential class members who have
not responded to opt-in to this matter within 90 days of the first issuance of the notice.
   FINALLY, IT IS FURTHER ORDERED that Plaintiffs’ Motion to Delay Rule 23 Class
Certification Under Iowa Wage Payment Collection Act is denied. Plaintiffs shall file their motion
for class certification under the Iowa Wage Payment Collection Act within 30 days of the issuance
of this order. No extensions will be granted.
   DATED this 9th day of November, 2020.




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